l[ .""'l\f. ~/\.E_....._..`._.. D.C.

WESTER_N DIVISION

  
 
  

  

UNITED s'rATES oF AMERICA * 95 SEP -l PH 5= 13
*
vs. * CR.No.oz-zooss-o - aaa
* 315%;`__ _ CTCGURT
HENRY PURDUE »¢= l~‘>"~t l wittth :S

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On September l, 2005, Hemy Purdue appeared before me on a charge of violation of the
terms and conditions of his probation/supervised release in this matter. The defendant was advised
cf his rights under Rules 5 and 32.1(a)(l), Federal Rules of Criminal Procedure .

At this hearing, the defendant Was released on bond and, therefore, a preliminary hearing on

the violation was not required. § United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976) and

 

United States v. Tucker, 524 F.2d 77, 78 (Sth Cir. 1975), Lr_t._ denied, 424 U.S. 966, 96 S.Ct. 1462,

 

 

47 L.Ed.2d 733 (1976).

Accordingly, defendant, Henry Purdue is held to a final revocation hearing before U.S.
District Judge Bern ice B. Donald and in accordance with the provisions of Rule 32. l(a)(2), Federal
Rules of Criminal procedure.

IT IS SO ORDERED.

ENTERED this lst day of Septeember, 2005.

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Diane K. Vescovo
UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket sheet iE compliance
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with Rule 55 candler 32{'0) F'FtCrP on q g , § /

 

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ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

